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 7                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
 8                                         AT SEATTLE
 9
      UNITED STATES OF AMERICA,
10
                    Plaintiff,
11
                                                           Case No. CR04-524RSL
             v.
12
                                                           ORDER DENYING DEFENDANT’S
      MATTHEW DAVID JAMES,                                 MOTION FOR EARLY RELEASE
13
                                                           FROM SUPERVISION
                    Defendant.
14

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                                          I. INTRODUCTION

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           This matter comes before the Court on defendant’s motion for termination of supervised

18
     release (Dkt. #89). For the reasons set forth below, the Court denies the motion.

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                                           II. BACKGROUND

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           In December 2004, Matthew James was indicted in this district for marijuana trafficking.

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     When agents initially attempted to arrest him, he evaded arrest and absconded to Mexico. Mr.

22
     James was arrested in Mexico in September 2009 and awaited extradition in Mexican custody

23
     for eleven months. Dkt #79 at 6-8. He pleaded guilty to violating 18 U.S.C. §§ 841(a)(1),

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     841(b)(1)(B), and 846 in January 2011. Dkt. #74.

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           In April 2011, defendant was sentenced by this Court to 84 months’ confinement, with

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27   ORDER DENYING DEFENDANT’S
     MOTION FOR EARLY RELEASE
28   FROM SUPERVISION- 1
            Case 2:04-cr-00524-RSL         Document 92     Filed 02/17/17     Page 2 of 3



 1   credit for time served awaiting extradition in Mexico, and five years of supervised release.1 Dkt.
 2   #82. The defendant commenced his period of supervised release in October 2014. In January
 3   2017, after completing approximately 27 months of supervision out of the 60 months originally
 4   imposed, the defendant moved for early termination of his supervised release. His motion and
 5   its attachments represent that he is gainfully employed, committed to his family, and in full
 6   compliance with the terms of his supervised release. The government, with the support of
 7   probation, opposed the motion (Dkt. #90), citing defendant’s extensive criminal history,
 8   including three federal felony convictions, and defendant’s record of noncompliance, including
 9   the commission of new crimes, during previous periods of supervised release.
10                                            III. ANALYSIS
11          While the Court may revoke any period of supervised release after one year if “warranted
12   by the defendant’s conduct and in the interest of justice,” 18 U.S.C. § 3583(e)(1), the disparity
13   between the proffered termination and the actual judgment gives pause to granting the motion.
14   Further, given the defendant’s extensive prior criminal history–some of which occurred while he
15   was on supervised release for one of his prior federal drug offenses–and his flight from
16   apprehension, it is simply too soon to consider early termination of his five-year term of
17   supervised release. The Court is encouraged by defendant’s progress and commends him for
18   complying with the terms of his supervision and making meaningful contributions to his
19   community.
20                                          IV. CONCLUSION
21          For the foregoing reasons, defendant’s motion (Dkt. #89) is DENIED without prejudice to
22   renewing the motion after defendant completes three years of full compliance with the terms of
23   supervised release in October 2017.
24
            1
25                Under the Sentencing Guidelines, defendant scored a criminal history category of
     VI as a Career Offender with a total offense level of 31. His guidelines range was 188-235
26   months’ confinement with a statutory minimum of 48 months of supervised release.
27   ORDER DENYING DEFENDANT’S
     MOTION FOR EARLY RELEASE
28   FROM SUPERVISION- 2
           Case 2:04-cr-00524-RSL     Document 92      Filed 02/17/17      Page 3 of 3



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 2        Dated this 17th day of February, 2017.
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 4                                          A
                                            Robert S. Lasnik
 5                                          United States District Judge
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27   ORDER DENYING DEFENDANT’S
     MOTION FOR EARLY RELEASE
28   FROM SUPERVISION- 3
